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                          UNITED STATES DISTRICT COURT

                              DISTRICT OF CONNECTICUT



Y.R., as parent and Natural
Guardian of Minor Plaintiff,
M.M.                                       :       No.    18: CV 402 (XXX)
       Plaintiff
                                           :
v.                                         :
                                           :
                                           :
                                           :
Yehudi Manzano.                            :      March 6, 2018
     Defendant

                                   COMPLAINT

      Count One

      Certain Activities Relating to materials constituting child pornography, 18

      U.S.C. Section 2252A and Civil Remedy for personal injuries, 18 U.S.C. 2255



      1.      This is an action for money damages to redress the deprivation by the

              defendants of rights secured to the plaintiff by the laws of the United

              States and the State of Connecticut.

      2.      Jurisdiction of this Court is invoked under the provisions of Sections 1331

              and 1367(a) of Title 28 and Sections 2252, 2252A.and 2255.

      3.      Jurisdiction of this Court is invoked, in the state law claims, under the

              provisions of Section 1367 of Title 28 of the United States Code.

      4.      Venue lies in the District of Connecticut under 28 U.S.C. Section 1391(b),

              in that all the events of this complaint, and the parties reside, within this
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         District.

5.       During all times mentioned in this action, the plaintiff M.M., was, and still

         is, a minor citizen of the United States, residing in Waterbury,

         Connecticut.

6.       Plaintiff, Y.R. is an adult citizen of the City of Waterbury, CT, and the

         mother of minor plaintiff M.M.

7.       Plaintiff, Y.R., is the parent and natural guardian of M.M., and is

         authorized and empowered to bring this action on behalf of, and for her

         minor daughter M.M.

8.       The defendant, Yehudi Manzano, is an adult male who is over the age of

         twenty one.

9.       Based upon the sensitive nature of the allegations that encompass this

         complaint, the surreptitious videotaping of an unclothed minor, she is

         identified only as M.M in the public filing, and her mother is identified as

         Y.R. Her identity and date of birth, and her mother’s name, are revealed

         in a sealed and otherwise identical Complaint filed herewith.

10.     On November 8, 2016 a state arrest warrant was issued for the defendant

        charging him with Sexual Assault in the Second Degree and several counts

        of Risk of injury to a minor.

11.     The state criminal arrest warrant was based upon allegations that the

        defendant had a sexual relationship with the defendant.

12.     At the time of the sexual encounters the plaintiff was under the age of

        sixteen.
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13.     During the course of the state criminal investigation the defendant’s

        Samsung Galaxy cellular phone had at least one video of the defendant

        and minor plaintiff engaging in sexually explicit conduct.

14.     Upon information and belief, the Samsung Galaxy phone has internet

        access.

15.     Upon information and belief, this phone is manufactured in Gumi, Korea,

        Vietnam, China, India, Indonesia and Brazil, and thereby the video was

        produced utilizing materials that were mailed, shipped or transported in or

        affecting interstate or foreign commerce.

16.     The surreptitious video was taken by the defendant.

17.     The defendant’s actions were unjustified and unlawful.

18.     The actions of the defendant was extreme and outrageous.

19.     As a direct and proximate result of the acts of the defendant, the plaintiff

        suffered and continues to suffer severe emotional distress.

20.     The defendant should have known that emotional distress was the likely

        result of such conduct.

21.     As a consequence of the actions of the defendant, the plaintiff suffered

        and continues to suffer great humiliation, embarrassment, anxiety, stress,

        emotional and mental upset.

22.      The actions of the Defendant resulted in injury and damages to the

        plaintiff.

23.     In the manner described above, the injuries to the plaintiff were the direct

        and proximate result of the intentional actions of the defendant.
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.Count Two:     Negligent Infliction of Emotional Distress

      1-22. Paragraphs one through twenty two of Count One of this complaint are

              incorporated herein as paragraphs one through twenty two of Count Two

              this complaint.

      23.     In the manner described above, the injuries to the plaintiff were the direct

              and proximate result of the negligence of the defendant.

Count Four:      Invasion of Privacy

      1-22. Paragraphs one through twenty two of Count One of this complaint are

              incorporated herein as paragraphs one through twenty two of Count Three

              of this complaint.

      23.     Due to the actions of the Defendant, the plaintiff suffered from an

              unreasonable publicity to her private life, an intrusion upon the person of

              the plaintiff, and an intrusion upon the seclusion of the plaintiff.

      24.     The actions of the Defendant were highly offensive

              to a reasonable person, and resulted in an invasion of privacy.




Count Four:      Sexual Exploitation of Children, 18 U.S.C. Section 2251, and Civil

Remedy for personal injuries, 18 U.S.C. 2255

      1-22. Paragraphs one through twenty two of Count One of this complaint are

              incorporated herein as paragraphs one through twenty two of Count Four

              this complaint.
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23.     The defendant used, persuades, induced, or enticed the plaintiff to engage

        in sexually explicit conduct for the purpose of producing a visual depiction

        of such conduct.

24.     The defendant had reason to know that such visual was produced using

        materials that have been mailed, shipped or transported in or affecting

        interstate or foreign commerce by means including by computer.




                                   By Their Attorney


                                          /s/
                                   __________________________
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                       JURY DEMAND




        The plaintiff requests a trial by jury.

                                      By Their Attorney

                                             /s/

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Wherefore, the plaintiff claims:

a) Compensatory damages;

b) Punitive damages;

c) Attorney’s fees;

d) Statutory damages under 18 U.S.C. 2255;

e) Such other relief as deemed fair and equitable.




                                         By Their Attorneys


                                                /s/
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                       JURY DEMAND




        The plaintiff requests a trial by jury.

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          Case 3:18-cv-00402-SRU Document 1 Filed 03/06/18 Page 9 of 9




Wherefore, the plaintiff claims:

a) Compensatory damages;

b) Punitive damages;

c) Attorney’s fees;

d) Statutory damages under 18 U.S.C. 2255;

e) Such other relief as deemed fair and equitable.




                                         By Their Attorneys


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